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                                   7                                            UNITED STATES DISTRICT COURT
                                   8                                        NORTHERN DISTRICT OF CALIFORNIA
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                                  10      HASSON HEDGEPETH,
                                                                Petitioner,                           Case No. 20-0858 BLF (PR)
                                  11

                                  12                  v.                                              ORDER GRANTING MOTION FOR
                                                                                                      EXTENSION OF TIME TO FILE
Northern District of California
 United States District Court




                                  13      R. MADDEN,                                                  TRAVERSE

                                  14                            Respondent.
                                                                                                      (Docket No. 31)
                                  15

                                  16              Petitioner, a California inmate, filed a pro se petition for a writ of habeas corpus
                                  17   pursuant to 28 U.S.C. § 2254. On June 2, 2021, the Court issued an order to show cause.
                                  18   Dkt. No. 24. Respondent has filed an answer. Dkt. No. 28. Petitioner has filed a motion
                                  19   for extension of time to file a traverse. Dkt. No. 31.
                                  20              In his motion, Petitioner states that he has limited access to a copy service and
                                  21   needs more time to obtain filing copies of his traverse. Dkt. No. 31. Having shown good
                                  22   cause, Petitioner’s motion for an extension of time is GRANTED. Petitioner shall file a
                                  23   traverse no later than October 25, 2021.
                                  24              IT IS SO ORDERED.
                                  25   Dated: __September 24, 2021__                                       ________________________
                                                                                                           BETH LABSON FREEMAN
                                  26
                                                                                                           United States District Judge
                                  27

                                  28   Order Granting Petitioner’s Mot. for Ext. of Time
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